826 F.2d 1072
    Unpublished dispositionNOTICE: Federal Circuit Local Rule 47.8(b) states that opinions and orders which are designated as not citable as precedent shall not be employed or cited as precedent.  This does not preclude assertion of issues of claim preclusion, issue preclusion, judicial estoppel, law of the case or the like based on a decision of the Court rendered in a nonprecedential opinion or order.Paraiso R. GERONIMO, Petitioner,v.OFFICE OF PERSONNEL MANAGEMENT, Respondent.
    Appeal No. 87-3163
    United States Court of Appeals, Federal Circuit.
    July 15, 1987.
    
      Before MARKEY, Chief Judge, and RICH and DAVIS, Circuit Judges.
      PER CURIAM.
    
    
      1
      The decision of the Merit Systems Protection Board (board) in No. SE08318610228, dismissing the appeal as untimely, is affirmed.  The petitioner filed his appeal thirty-six to forty days after the 20-day appeal period had expired.  See 5 CFR 1201.22(b).  The board's decision not to waive the time limit because the petitioner had not shown good cause for the delay was not arbitrary, capricious, an abuse of discretion, unsupported by the evidence, or otherwise not in accordance with law. 5 USC 7703(c); see Sheeran v. Merit Sys. Protection Bd., 746 F.2d 806, 807 (Fed.  Cir. 1984); Phillips v. United States Postal Serv., 695 F.2d 1389, 1390-91 (Fed.  Cir. 1982).
    
    